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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ALEXCIA PATTON,                    )
                                   )
                      Plaintiff,   )                    No. 15 C 10277
                                   )
            v.                     )                    Judge Robert M. Dow, Jr.
                                   )                    Magistrate Judge Daniel G. Martin
CITY OF CHICAGO,                   )
JOHN D. SANDOVAL, JOSE L. DURAN,   )
SHAWN P. ALONZO,                   )
MARCOS BOCANEGRA,                  )
DANIEL C. HONDA, MIGUEL A. ROMERO, )
DAVID LOPEZ, TODD M. OLSEN,        )
LUIS A. LOAIZA, GERMAN J. VAZQUEZ, )
ANGELO MANDILE,                    )
ANGELO C. VELAZQUEZ,               )
ANGELO P. RAMUNDO,                 )
                                   )
                      Defendants.  )


                                FIRST AMENDED COMPLAINT

       1.      This is an action for money damages brought pursuant to 42 U.S.C. § 1983, and

the common law and statutes of the State of Illinois.

       2.      Jurisdiction for Plaintiff’s federal claims is based on 28 U.S.C. §§ 1331 and

1343(a). Jurisdiction for Plaintiff’s state claims is based on supplemental jurisdiction pursuant to

28 U.S.C. § 1367(a).

       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), in that the claims

arose in this district as alleged below.

                                              Parties

       4.      Plaintiff Alexcia Patton is a resident of Chicago, Illinois.


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       5.       Defendants JOHN D. SANDOVAL, JOSE L. DURAN, SHAWN P. ALONZO,

MARCOS BOCANEGRA, DANIEL C. HONDA, MIGUEL A. ROMERO, DAVID LOPEZ,

TODD M. OLSEN, LUIS A. LOAIZA, GERMAN J. VAZQUEZ, ANGELO MANDILE,

ANGELO C. VELAZQUEZ, and ANGELO P. RAMUNDO (“Defendant-Officers”) are duly

appointed and sworn Chicago police officers. At all times relevant to this Complaint, the

Defendant-Officers were acting in the course and scope of their employment, and under color of

state law, ordinance and/or regulation.

       6.       The Defendant-Officers are sued in their individual capacities.

       7.       Defendant CITY OF CHICAGO is a municipal corporation, duly incorporated

under the laws of the State of Illinois, and is the employer and principal of the

Defendant-Officers.

                                               Facts

       8.       In January 2015, Plaintiff Alexcia Patton lived at 3412 W. Douglas Boulevard,

Apartment 3C.

       9.       On or about January 11, 2015, Defendant-Officer John Sandoval, Star Number

7573, obtained a search warrant that called for the search of “Tony ‘Tone’ Bush” and of “the

third floor apartment of a multi-unit apartment building located at 3412 W. Douglas Boulevard,

Chicago, Illinois, Cook County, 60623.”

       10.      The structure located at 3412 W. Douglas Boulevard is a multi-unit apartment

building with four separate and distinct apartments on each floor.

       11.      The apartments at the rear third floor of 3412 W. Douglas Boulevard have

separate entry doors and are marked with designations “3C” and “3D.” The front doors to these


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two separate apartments are immediately adjacent to one another.

        12.     On or about January 12, 2015, in the late morning, the Defendant-Officers went to

3412 W. Douglas Boulevard to execute the search warrant that called for the search of the “third

floor apartment” at this address.

        13.     The search warrant did not indicate which third floor apartment was to be

searched.

        14.     The Defendant-Officers entered 3412 W. Douglas Boulevard and walked up the

stairs to the third floor.

        15.     The Defendant-Officers executed the search warrant in Apartment 3D.

        16.     After searching Apartment 3D, the Defendant-Officers then used a battering ram

to enter Plaintiff’s apartment (3C), the apartment next door to the unit they had already searched.

        17.     The Defendant-Officers entered Plaintiff’s apartment.

        18.     The Defendant-Officers conducted a thorough search of Plaintiffs’ apartment,

including opening drawers and dumping out their contents and flipping over mattresses.

        19.     The Defendant-Officers caused significant property damage while in Plaintiff’s

apartment, including cutting open the fabric of Plaintiff’s daybed and futon, emptying packages

of food on Plaintiff’s kitchen floor, stepping on Plaintiff’s clothing in dirty shoes, and throwing

Plaintiff’s clothing around the apartment.

        20.     No drugs or other contraband were found in Plaintiffs’ apartment.

        21.     No one named “Tony” or “Tone” ever lived in Plaintiff’s apartment.

        22.     Each individual Defendant-Officer acted willfully and wantonly, maliciously, and

with a conscious disregard and deliberate indifference to Plaintiffs' rights.


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       23.     As a direct and proximate result of the acts of the Defendants described above,

Plaintiff suffered damages including property damage, emotional distress, and other damages.


                                           COUNT I
                           (42 U.S.C. § 1983 – Illegal Search of Home)

       24.     Plaintiff realleges paragraphs 1 through 23 as if fully set forth herein.

       25.     Defendant-Officers searched Plaintiff’s home.

       26.     Defendant-Officers did not have a search warrant, consent, exigent circumstances,

or any other legal justification to search Plaintiff’s home.

       27.     Searching Plaintiff’s home without any legal justification violated her Fourth

Amendment right, as guaranteed by the Fourteenth Amendment, to be free from unreasonable

searches.

       WHEREFORE, Plaintiff asks that this Honorable Court:

       a)      Enter judgment against Defendant-Officers,

       b)      Award Plaintiff compensatory and punitive damages,

       c)      Award attorneys’ fees and costs, and

       d)      Award any further relief that this Honorable Court deems just and equitable.


                                         COUNT II
                    (Indemnification Claim pursuant to 745 ILCS 10/9-102)

       29.     The acts of the Defendant-Officers described in the above claims were willful and

wanton, and committed in the scope of employment.

       30.     Pursuant to the Illinois Tort Immunity Act, 745 ILCS 10/9-102, Defendant CITY

OF CHICAGO is liable for any judgments in this case arising from the Defendant-Officers'


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actions.

       WHEREFORE, Plaintiff asks that this Honorable Court order Defendant CITY OF

CHICAGO to indemnify the Defendant-Officers for any judgment entered in this case arising

from their actions.


       Jury Trial Demanded



                                                  Respectfully submitted,

                                                  /s/ Amanda S. Yarusso
                                                  Counsel for the Plaintiff


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